Case 1:14-cv-01611-LO-JFA Document 936 Filed 07/20/18 Page 1 of 3 PageID# 25188



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                   Civil No. 1:14-cv-1611 (LO/JFA)
                 v.

  COX COMMUNICATIONS, INC, et al.,

                        Defendants.


 DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE EVIDENCE AND TESTIMONY
      AS TO CERTAIN INTERNAL COX EMAILS AND COMMUNICATIONS
 CONCERNING COX’S TERMINATION POLICIES AND TREATMENT OF ALLEGED
                            INFRINGERS

        Defendants respectfully move this Court to enter an order precluding Plaintiffs from

 offering evidence and testimony as to certain internal Cox emails and communications concerning

 (a) Cox’s termination policies, (b) Cox’s treatment of alleged infringers, and (c) certain opinions

 expressed by Cox employees concerning Rightscorp and/or the DMCA.

        Defendants state the specific grounds for their motion in Defendants’ accompanying

 Memorandum of Law in Support of Defendants’ Motion in Limine to Preclude Evidence and

 Testimony as to Certain Internal Cox Emails and Communications Concerning Cox’s Termination

 Policies and Treatment of Alleged Infringers.


 Dated: July 20, 2018                                  Respectfully submitted,

                                                       /s/ Thomas M. Buchanan
                                                       Thomas M. Buchanan (VSB No. 21530)
                                                       1700 K Street, N.W.
                                                       Washington, D.C. 20006-3817
                                                       Tel: (202) 282-5787
                                                       Fax: (202) 282-5100
                                                       Email: tbuchana@winston.com

                                                 -1-
Case 1:14-cv-01611-LO-JFA Document 936 Filed 07/20/18 Page 2 of 3 PageID# 25189




                                               Attorney for Cox Communications, Inc. and
                                               CoxCom, LLC


 Of Counsel for Defendants

 MICHAEL S. ELKIN (pro hac vice)
 THOMAS PATRICK LANE (pro hac vice)
 SETH E. SPITZER (pro hac vice)
 Winston & Strawn LLP
 200 Park Avenue
 New York, NY 10166
 (212) 294-6700
 Email: melkin@winston.com
 Email: tlane@winston.com
 Email: sspitzer@winston.com

 JENNIFER A. GOLINVEAUX (pro hac vice)
 Winston & Strawn LLP
 101 California Street
 San Francisco, CA 94111
 (415) 591-1000
 Email: jgolinveaux@winston.com




                                         -2-
Case 1:14-cv-01611-LO-JFA Document 936 Filed 07/20/18 Page 3 of 3 PageID# 25190



                                CERTIFICATE OF SERVICE

        I certify that on July 20, 2018, a copy of the foregoing Defendants’ Motion in Limine to

 Preclude Evidence and Testimony as to Certain Internal Cox Emails and Communications

 Concerning Cox’s Termination Policies and Treatment of Alleged Infringers was filed

 electronically with the Clerk of Court using the ECF system which will send notifications to ECF

 participants.



                                                     /s/ Thomas M. Buchanan
                                                     Thomas M. Buchanan (VSB No. 21530)
                                                     1700 K Street, N.W.
                                                     Washington, D.C. 20006-3817
                                                     Tel: (202) 282-5787
                                                     Fax: (202) 282-5100
                                                     Email: tbuchana@winston.com

                                                     Attorney for Cox Communications, Inc. and
                                                     CoxCom, LLC




                                               -3-
